      Case 1-14-45297-nhl          Doc 35     Filed 05/28/15      Entered 05/28/15 10:26:05




                                                        tmd3574/db
                                                        Return Date & Time:
                                                        JUNE 17, 2015 9:30 AM


UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
-----------------------------------------------------------X Chapter 13 Case No: 114-45297-NHL
IN RE:
                                                                NOTICE OF MOTION
AIXA MUIR,
                                       Debtor.
-----------------------------------------------------------X




                PLEASE TAKE NOTICE, that upon the within application, the Chapter 13 Trustee
will move this court before the Honorable Nancy Hershey Lord, U.S. Bankruptcy Judge, at the
United States Bankruptcy Court, 271 Cadman Plaza East, Brooklyn, New York, Courtroom 2529
on JUNE 17, 2015 at 9:30 AM, or as soon thereafter as counsel can be heard, for an Order
pursuant to 11 U.S.C. Section 1307(c) for cause, dismissing this Chapter 13 case and for such
other and further relief as may seem just and proper.
                Responsive papers shall be filed with the Bankruptcy Court and served upon the
Chapter 13 Trustee, Marianne DeRosa, Esq., no later than seven (7) business days prior to the
hearing date set forth above. Any responsive papers shall be in conformity with the Federal Rules
of Civil Procedure and indicate the entity submitting the response, the nature of the response and
the basis of the response.



Date: Syosset, New York
      May 28, 2015

                                                        /s/ Marianne DeRosa
                                                        MARIANNE DeROSA, TRUSTEE
                                                        115 EILEEN WAY, SUITE 105
                                                        SYOSSET, NEW YORK 11791
                                                        (516) 622-1340
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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK                                            JUNE 17, 2015
                                                                        9:30 AM
----------------------------------------------------------X
IN RE:                                                                  Chapter 13 114-45297-NHL

 AIXA MUIR,                                                             APPLICATION
                                      Debtor.

-----------------------------------------------------------X

TO THE HONORABLE NANCY HERSHEY LORD, U.S. BANKRUPTCY JUDGE:

       Marianne DeRosa, Chapter 13 Trustee in the above-captioned estate, respectfully
represents the following:

       1. The Debtor filed a petition under the provisions of 11 U.S.C. Chapter 13 on NOVEMBER
17, 2014, and, thereafter, Marianne DeRosa was duly appointed and qualified as Trustee.

        2. The Debtor’s proposed Chapter 13 Plan, (hereinafter “The Plan”), dated December 9,
2014, filed with the Court on December 11, 2014, and reflected in the Court’s docket as number
19 provides for a monthly Plan payment of $200.00 per month for a period of 3 months, followed
by a monthly Plan payment of $3,000.00 per month for the remaining 57 months. Additionally,
The Plan provides for full repayment to all filed secured and priority proofs of claim, as well as a
pro rata distribution to general unsecured proofs of claim of not less than 1%.

       3. The Trustee objects to the confirmation of the Plan because the Debtor’s proposed
Plan payment is insufficient to pay secured claims in full as required by 11 U.S.C. §1325(a)(5).

       4.      Furthermore, the Debtors budget filed on December 11, 2014, reflected in the
Court’s docket as number 18, indicates, after all monthly expenses as evidenced by Schedule J,
a negative cash flow and clearly demonstrates that the Debtor will not be able to fund any Plan
as required by 11 U.S.C. §1325(a)(6).

         5. In addition, the Debtor has failed to:

                   a. provide the Trustee with proof of post-petition mortgage payments seven
                      business days before the first meeting of creditors as required by E.D.N.Y. LBR
                      2003-1(a)(vi);

                   b. provide the Trustee with proof of post-petition mortgage payments seven days
                      before the first date set for confirmation of the Chapter 13 Plan as required by
                      E.D.N.Y. LBR 2003-1(b)(i);

                   c. provide the Trustee with a copy of an affidavit by the Debtor stating the Debtor
                      has paid all amounts that are required to be paid under a domestic support
                      obligation or that the Debtor has no domestic support obligations as required
                      by E.D.N.Y. LBR 2003-1(b)(ii)(A) and (B);
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              d. provide the Trustee with a copy of affidavit from the Debtor stating whether the
                 Debtor has filed all applicable federal, state and local tax returns under the
                 Bankruptcy Code Section 1308 as required by E.D.N.Y. LBR 2003-1(b)(iii);

              e. file the original affidavits with the Court as required under subdivisions (b)(ii)
                 and (iii) as required by E.D.N.Y. LBR 2003-1(c).

              f.   comply with 11 U.S.C. §1325(a)(6) in that the Debtor has not submitted timely
                   Chapter 13 plan payments to the Trustee, and is $6,000.00 in arrears
                   through and including May 2015.

        6. The Plan cannot be confirmed and as a result a delay has occurred that is
prejudicial to the rights of creditors. The case must be dismissed under 11 U.S.C. § 1307(c)(1)
and (c)(5).

      7.    Each of the foregoing constitutes cause to dismiss this Chapter 13 case within
meaning of 11 U.S.C. §1307(c).

        WHEREFORE, the Chapter 13 Trustee respectfully requests that this Court enter an
Order denying confirmation and dismissing this Chapter 13 case and such other and further relief
as may seem just and proper.

Dated: Syosset, New York
       May 28, 2015
                                                     /s/ Marianne DeRosa
                                                      Marianne DeRosa, Trustee
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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
-----------------------------------------------------------X   Chapter 13 Case No: 114-45297-NHL
IN RE:

AIXA MUIR,
                                                                        CERTIFICATE OF SERVICE
                                                                             BY MAIL
                                       Debtor.
-----------------------------------------------------------X


               This is to certify that I, DANI M. BOYER, have this day served a true, accurate and
correct copy of the within Notice of Motion and Application by depositing a true copy thereof
enclosed in a post-paid wrapper, in an official depository under the exclusive care and custody of
the U.S. Postal Service within New York State, addressed to each of the following persons at the
last known address set forth after each name:

AIXA MUIR
1192 BUSHWICK AVENUE
BROOKLYN, NY 11221

DOYAGA & SCHAEFER, ESQS.
26 COURT STREET, STE 1002
BROOKLYN, NY 11242

OCWEN LOAN SERVICING, LLC
C/O McCABE WEISBERG & CONWAY
145 HUGUENOT STREET, STE 210
NEW ROCHELLE, NY 10801




This May 28, 2015

/s/DANI M. BOYER
DANI M. BOYER, Paralegal
Office of the Standing Chapter 13 Trustee
Marianne DeRosa, Esq.
115 Eileen Way, Suite 105
Syosset, New York 11791
(516) 622-1340
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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
IN RE:

AIXA MUIR,


Debtor.

                       NOTICE OF MOTION, APPLICATION
                                    and
                          CERTIFICATE OF SERVICE




                           MARIANNE DeROSA, TRUSTEE
                            115 EILEEN WAY, SUITE 105
                            SYOSSET, NEW YORK 11791
                                   (516) 622-1340
